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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:16-CR-00070-DAD-BAM-1
12                                Plaintiff,            STIPULATION AND ORDER TO
                                                        CONTINUE SENTENCING HEARING
13                         v.
                                                        DATE: October 16, 2017
14   CESAR VARGAS DIAZ,                                 TIME: 10 a.m.
                                                        COURT: Hon. Dale A. Drozd
15                               Defendant.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.     By previous order, this matter was set for sentencing on October 16, 2017.
21          2.     By this stipulation, defendant now moves to continue the sentencing until December 4,

22 2017 at 10 a.m.

23          3.     The parties agree and stipulate, and request that the Court find the following:

24                 a)      Counsel for defendant desires additional time to prepare for sentencing and to

25          consult with Pretrial Services regarding counsel for defendant’s informal objections to the

26          Presentence Investigation Report.
27                 b)      Counsel for defendant believes that failure to grant the above-requested

28          continuance would deny her the reasonable time necessary for effective preparation, taking into

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           Case 1:16-cr-00070-DAD-BAM Document 52 Filed 10/06/17 Page 2 of 2


 1         account the exercise of due diligence.

 2                 c)     The government does not object to the continuance.

 3         IT IS SO STIPULATED.
 4 Dated: October 5, 2017                                  PHILLIP A. TALBERT
                                                           United States Attorney
 5

 6                                                         /s/ VINCENZA RABENN
                                                           VINCENZA RABENN
 7                                                         Assistant United States Attorney
 8

 9 Dated: October 5, 2017                                  /s/ MARINA GONZALES
                                                           MARINA GONZALES
10                                                         Counsel for Defendant
11                                                         CESAR VARGAS DIAZ

12                                                  ORDER
13         The court has reviewed and considered the stipulation of the parties to continue the sentencing in

14 this case. Good cause appearing, the sentencing hearing as to the above named defendant currently

15 scheduled for October 16, 2017, is continued until December 4, 2017, at 10:00 a.m. in courtroom 5

16 before District Judge Dale A. Drozd.

17 IT IS SO ORDERED.

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        Dated:    October 6, 2017
19                                                   UNITED STATES DISTRICT JUDGE

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